6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 1 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 2 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 3 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 4 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 5 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 6 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 7 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 8 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 9 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 10 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 11 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 12 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 13 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 14 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 15 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 16 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 17 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 18 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 19 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 20 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 21 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 22 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 23 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 24 of 25
6:19-cv-00127-RAW-SPS Document 49-4 Filed in ED/OK on 04/17/20 Page 25 of 25
